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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION

  TROYCE MANASSA, et al.,                             )
                                                      )
                               Plaintiffs,            )
                                                      )
                          v.                          )       No. 1:20-cv-03172-RLY-MJD
                                                      )
  NATIONAL COLLEGIATE ATHLETIC                        )
  ASSOCIATION,                                        )
                                                      )
                               Defendant.             )


                               SCHEDULING ORDER
                              TELEPHONIC HEARING
                     HON. MAGISTRATE JUDGE MARK J. DINSMORE

         Plaintiffs' Motion to Compel Discovery [Dkt. 98] is set for a telephonic hearing on

  Thursday, June 16, 2022 at 2:00 p.m. (Eastern). Counsel shall attend the hearing by calling

  the designated telephone number, to be provided by the Court via email generated by the Court's

  ECF system.

         SO ORDERED.



         Dated: 14 JUN 2022




  Distribution:

  Service will be made electronically
  on all ECF-registered counsel of record
  via email generated by the Court's ECF system.
